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IN THE UNITED sTATEs DISTRICT CoURT HSL/./,g,,. s

FoR THE WESTERN DISTRICT oF TENNESS§;E`_M 5/ as
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UNITED STATES OF AMERICA, Q "¢L@:-’;,/
ll
Plaintiff, §
§ Civ. No. 04-1338-T/An
VS. § Crim. No. 99-10065-1-T
ll
JERRY WAYNE DICKEY, §
ll
Defendant. §§

 

ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN lN GOOD FAITH

 

Det`endant Jerry Wayne Dickey, Bureau ofPrisons inmate registration number l69l 7-
076, an inmate at the Federal Prison Camp in Millington, Tennessee, filed a pro se motion
pursuant to 28 U.S.C. § 2255 on December 22, 2004, along with a memorandum of law.

On July l9, 2002, a federal grand jury returned a two-count indictment against
Dickey and a codefendant, David Larry Burruss. The first count charged both defendants
with (l) conspiring to possess and attempt to possess in excess of 500 grams of a substance
containing methamphetamine with the intent to distribute and (2) conspiring to distribute
and attempt to distribute in excess of 500 grams of a substance containing

methamphetamine, in violation of 21 U.S.C. § 846. The second count charged that Dicl<ey,

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on or about July 14, 1999, possessed in excess of 500 grams of a substance containing
methamphetamine with the intent to distribute, in violation of 21 U.S.C. §§ 84l(a)(l) and
846. Pursuant to a written plea agreement, Dickey entered a plea of guilty to the first count
of the indictment on December 14, 1999. The plea agreement provided, inter alia, that
“[t]he defendant . . . and the government agree that the defendant’s relevant conduct is
between 1.5 kilograms and 5.0 kilograms of a substance containing methamphetamine.”
(Plea Agreement, 11 2.) The Court conducted a sentencing hearing on March 8, 2000, at
which time Dickey was sentenced to 120 months imprisonment, to be followed by a
five-year period of supervised release.l Judgment was entered on March 15, 2000. Dickey
did not take a direct appeal
Dickey has now filed a § 2255 motion in which he contends he received ineffective
assistance of counsel, in violation of the Sixth Amendment. fn particular, Dickey contends
tliat:
l. Counsel failed to argue that Dickey met the criteria for a downward
departure pursuant to 18 U.S.C. § 3553(f) and U.S.S.G.§5C1.2 ofthe
United States Sentencing Guidelines;

2. Counsel failed to challenge the drug quantity; and

3. Counsel failed to file a notice of appeal.

 

1 Although the sentencing guidelines provided for a lower range of punishment, the mandatory minimum
sentence for a drug offense involving 50 grams or more of methamphetamine is ten years. 21 U.S.C. §§ 846,
84l(b)(1)(A)(viii). In sentencing Dickey to the statutory mandatory minimum, the Court rejected the
recommendation in the presentence report that Dickey qualified for the safety valve set forth in § 5Cl .2 of the
United States Sentencing Guideli`nes (“U.S.S.G.”).

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The Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104-132,
l lO Stat. 1214 (Apr. 24, 1996) (codif`ied, inter alia, at 28 U.S.C. § 2244 et seq.)
(“AEDPA”), created a statute of limitations for filing motions under § 2255 . Because this
petition was filed after April 24, 1996, the AEDPA is applicable _S;c_e Lindh v. Murp_hy, 521
U.S. 320, 336 (1997). As a threshold matter, the Court should consider the effect of the
statute of limitations on defendant’s claims Holloway v. Corcoran, 980 F. Supp. 160, 161
(D. l\/ld. 1997), app dismissed, l6l F.3d1155(4th Cir. 1998); Bronaugh v. Ohio, 235 F.3d
280 (6th Cir. 2000).

The relevant portion of 28 U.S.C. § 2255 provides:

A l-year period of limitation shall apply to a motion under this section.
The limitation period shall run from the latest of_

(l) the date on which the judgment of conviction becomes
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(2) the date on which the impediment to making a motion
created by governmental action in violation of the
Constitution or laws of the United States is removed, if
the movant was prevented from making a motion by
such governmental action;

(3) the date on which the right asserted was initially
recognized by the Supreme Court, if that right has been
newly recognized by the Supreme Court and made
retroactively applicable to cases on collateral review; or

(4) the date on which the facts supporting the claim or
claims presented could have been discovered through the
exercise of due diligence.

“[F]or purposes of collateral attack, a conviction becomes final at the conclusion of
direct review.” Johnson v. United States, 246 F.?>d 655, 657 (6th Cir. 2001). Where, as

here, a defendant does not take a direct appeal, “an unappealed district court judgment of

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conviction becomes ‘final’ ten days after the entry ofjudgment, at least where the defendant
has not actually sought an extension of appeal time for good cause or excusable neglect.”

Sanchez-Casteilano v. United States, 358 F.3d 424 (6th Cir. 2004); see also United States

 

v. Cottage, 307 F.3d 494, 499 (6th Cir. 2002) (“when a § 2255 movant does not pursue a
direct appeal to the court of appeals, his conviction becomes final either on the date that the
judgment was entered . . . or on the date on which the time for filing such appeal expired”;
describing the latter as the “maj ority view”); Chandler v. United States, 22 Fed. Appx. 399,
400 (6th Cir. Sept. 25, 2001).

In this case, judgment was entered on March 15, 2000. Dickey’s conviction became
final no later than March 27, 2000, the last day on which he could have filed a notice of
appeal. Fed. R. App. P. 4(b)(l )(A)(i). This motion was filed on December 22, 2004, more
than three and one-half`years after the expiration of the limitations period. lt is clearly time
barred.2

It is also necessary to consider whether the limitations period is subject to equitable
tolling in this case. ln Dunlap v. United States, 250 F.3d 1001, 1004 (6th Cir. 2001), the
Sixth Circuit held that the one-year limitations period applicable to § 2255 motions is a
statute of limitations subject to equitable tolling Five factors are relevant to determining

the appropriateness of equitably tolling a statute of limitations:

 

2 Section 2255 provides that the limitations period begins to run from the M of the four specified
circumstances However, an examination of Dickey’s motion indicates that each of the claims he seeks to assert
was available to him during the time he could have filed a timely § 2255 motion. Accordingly, the limitations
period began to run when Dickey’s conviction became final.

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(l) the petitioner’ s lack of notice of the filing requirement; (2) the petitioner’s

lack of constructive notice ofthe filing requirement; (3) diligence in pursuing

one’s rights; (4) absence of prejudice to the respondent; and (5) the

petitioncr’s reasonableness in remaining ignorant of the legal requirement for

filing his claim.
§ at 1008.3

The Sixth Circuit has stated that “equitable tolling relief should be granted only
sparingly.” Amini, 259 F.3d at 500; see also Vroman v. Brigano, 346 F.3d 598, 604 (6th
Cir. 2003); Jurado v. Burt, 337 F.3d 638, 642 (6th Cir. 2003).

Typically, equitable tolling applies only when a litigant’s failure to meet a

le gally-mandated deadline unavoidably arose from circumstances beyond that

litigant’s control. . . . Absent compelling equitable considerations, a court

should not extend limitations by even a single day.
Graham-Humphrevs v. l\/lemphis Brooks Museum. lnc., 209 F.3d 552, 560-61 (6th Cir.
2000); see also King v. United States, 63 Fed. Appx. 793, 795 (6th Cir. Mar. 27, 2003);
.lohnson v. U.S. Postal Serv., No. 86-2189, 1988 WL 122962 (6th Cir. Nov. 16, 1988)
(refusing to apply equitable tolling when pro se litigant missed filing deadline by one day).
Thus, ignorance of the law by pro se litigants does not toll the limitations period. Price v.
Ja.mrog, 79 Fed. Appx. 110, 112 (6th Cir. Oct. 23, 2003); Harrison v. I.M.S., 56 Fed. Appx.
682, 685-86 (6th Cir. Jan. 22, 2003); Miller v. Cason, 49 Fed. Appx. 495, 497 (6th Cir. Sept.
27, 2002) (“Miller’s lack of knowledge of the law does not excuse his failure to timely file

a habeas corpus petition.”); Brown v. United States, 20 Fed. Appx. 373, 374 (6th Cir. Sept.

 

3 This five-factor standard is identical to the test used to determine whether equitable tolling is appropriate

in other contexts, including employment discrimination cases. Amini v. Oherlin College, 259 F.3d 493, 500 (6th
Cir. 2001) (citing Dunlan); Truitt v. County of Wavne, 148 F.3d 644, 648 (6th Cir. 1998).

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21, 2001) (“Ignorance of the limitations period does not toll the limitations period.”); c_f.
M, 337 F.3d at 644-45 (lawyer’s mistake is not a proper basis for equitable tolling).‘q

In this case, Dickey suggests that his failure to file a timely § 2255 motion is
attributable to the fact that, at the time of his sentencing hearing, he had a fifth grade
educational level and did not fully understand the proceedings He asserts that this motion
was filed promptly upon his receipt ofa general equivalency degree (“GED”). As a matter
of law, however, those facts do not provide a basis for equitable tolling.

The motion, together with the files and record in this case “conclusively show that
the prisoner is entitled to no relief.” 28 U.S.C. § 2255; §§Llso Rule 4(b), Rules Governing
§ 2255 Proceedings. Theref`ore, the Court finds that a response is not required from the
United States Attorney and that the motion may be resolved without an evidentiary hearing
United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United States, 781 F.2d 85,
92 (6th Cir. 1986). Therefore, defendant’s motion under § 2255 is DENIED.

Consideration must also be given to issues that may occur if the defendant files a
notice of appeal. Twenty-eight U.S.C. § 2253(a) requires the district court to evaluate the
appealability of its decision denying a § 2255 motion and to issue a certificate of

appealability (“COA”) only if “the applicant has made a substantial showing of the denial

 

4 See also Cobas v. Burgess, 306 F.3d 441 (6th Cir. 2002) (“Since a petitioner does not have a right to
assistance of counsel on a habeas appeal . . . , and because an inmate’s lack of legal training, his poor education, or
even his illiteracy does not give a court reason to toll the statute of limitations . . . , we are loath to impose any
standards of competency on the English language translator utilized by the non-English speaking habeas
petitioner.”).

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ofa constitutional right.” 28 U.S.C. § 2253(0)(2); see also Fed. R. App. P. 22(b); Lyons v.

 

Ohio Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (districtjudges may issue
certificates of appealability under the AEDPA). No § 2255 movant may appeal without this
certificate

ln Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the Supreme Court stated that
§ 2253 is a codification ofthe standard announced in Barefoot v. Estelle, 463 U.S. 880, 893
(1983), which requires a showing that “reasonable jurists could debate whether (or, for that

matter, agree that) the petition should have been resolved in a different manner or that the

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issues presented were adequate to deserve encouragement to proceed further.”’ Slack, 529

U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).
The Supreme Court recently cautioned against undue limitations on the issuance of
certificates of appealability:

[O]ur opinion in _Sit£lg held that a COA does not require a showing that the
appeal will succeed. Accordingly, a court of appeals should not decline the
application of a COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in S_la_c_lg would mean very
little if appellate review were denied because the prisoner did not convince a
judge, or, for that matter, three judges, that he or she would prevail. It is
consistent with § 2253 that a COA will issue in some instances where there
is no certainty of ultimate relief After all, when a COA is sought, the whole
premise is that the prisoner “‘has already failed in that endeavor.”’

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463 U.S. at 893). Thus,

[a] prisoner seeking a COA must prove “‘somethin g more than the absence of
frivolity”’ or the existence of mere “good faith” on his or her part. . . . We do
not require petitioners to prove, before the issuance of a COA, that some
jurists would grant the petition for habeas corpus. lndeed, a claim can be

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debatable even though every jurist of reason might agree, after the COA has

been granted and the case has received full consideration, that petitioner will

not prevail.
I_d. at 338 (quoting Barefoot, 463 U.S. at 893); M § at 342 (cautioning courts against
conflating their analysis of the merits with the decision of whether to issue a COA: “The
question is the debatability of the underlying constitutional claim, not the resolution of that
debate.”).5

ln this case, the defendant’s claim is clearly time barred and, therefore, he cannot
present a question of some substance about which reasonable jurists could differ. The Court
therefore DENIES a certificate of appealability

The Sixth Circuit has held that the Prison Litigation Reform Act of 1995, 28 U.S.C.
§ l915(a)-(b), does not apply to appeals of orders denying § 2255 motions. Kincade v.
Sp_arkman, ll7 F.3d 949, 95l (6th Cir. 1997). Rather, to appeal in forma pauperis in a
§ 2255 case, and thereby avoid the 8255 appellate filing fee required by 28 U.S.C. §§ 1913
and 1917, the defendant must obtain pauper status pursuant to Federal Rule of Appellate
Procedure 24(a). M, 117 F.3d at 952. Rule 24(a) provides that a party seeking pauper
status on appeal must first file a motion in the district court, along with a supporting

affidavit Fed. R. App. P. 24(a)(l). However, Rule 24(a) also provides that if the district

court certifies that an appeal would not be taken in good faith, or otherwise denies leave to

 

5 By the same token, the Supreme Court also emphasized that “[o]ur holding should not be misconstrued

as directing that a COA always must issue.” Miller-El,537 U.S. at 337. lnstead, the COA requirement implements
a system of “differential treatment of those appeals deserving of attention from those that plainly do not.” §

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appeal in forma pauperis, the defendant must file his motion to proceed in forma pauperis
in the appellate court. w Fed. R. App. P. 24(a) (4)-(5).

ln this case, for the same reasons the Court denies a certificate of appealability, the
Court determines that any appeal would not be taken in good faith. lt is therefore
CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any appeal in this matter is not taken
in good faith, and leave to appeal informer pauperis is DENIED. Accordingly, if the
defendant files a notice of appeal, he must also pay the full $255 appellate filing fee or file
a motion to proceed in forma pauperis and supporting affidavit in the Sixth Circuit Court
of Appeals within thirty (30) days.

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IT IS SO ORDERED this % day ofJune, 2005.

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uNiT s'rATEs DisTRicr JUDGE

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Honorable .1 ames Todd
US DISTRICT COURT

